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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

On March 8, 2021, the Court issued an Order [26] denying defendant Jacob Anthony
Chansley’s motion [12] for pre-trial release. In its Memorandum Opinion [25] setting forth the
reasons for ruling as such, the Court cites two video Exhibits referenced in the government’s sur-
reply [23]. Those Exhibits were provided to defendant and the Court but were not made available
to the public. Accordingly, the government is hereby ORDERED to show cause why the two
video Exhibits referenced in the government’s sur-reply, ECF No. 23, should not be made public.
The government shall also propose the manner in which those videos could be made public, in the
event that the Court orders as such. The government shall do so within five (5) days of this date.

It is SO ORDERED.

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Date: March  , 2021 ey ce Aor hl
Hon. Royce C. Lamberth
United States District Judge
